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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:
                                                             CASE NO: 16-62019-BEM
AMY ELIZABETH BARNES,
     Debtor                                                        CHAPTER 13


U.S. BANK TRUST NATIONAL
ASSOCIATION, AS TRUSTEE OF
BUNGALOW SERIES F TRUST,
      Movant

v.
                                                             CONTESTED MATTER
AMY ELIZABETH BARNES,
     Debtor

MARY IDA TOWNSON,
    Trustee

         Respondents

                         NOTICE OF ASSIGNMENT OF HEARING

         NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay
 has been filed in the above-styled case. In the event a hearing cannot be held within thirty (30)
 days from the filing of the motion for relief from the automatic stay as required by 11 U.S.C. §
 362, Movant waives this requirement and agrees to the next earliest possible date, as evidenced
 by signature below. The undersigned consents to the automatic stay (and any related co-debtor
 stay) remaining in effect with respect to Movant until the court orders otherwise.

        HEARING will be held at 9:30 AM on August 29, 2018, in Courtroom 1402 at the
 United States Bankruptcy Court, 75 Ted Turner Drive South West, Atlanta, GA 30303.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read
 these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
 court to grant the relief sought in these pleadings, or if you want the Court to consider your
 views, then you and/or your attorney must attend the hearing. You may also file a written
 response to the pleading with the Clerk at the address stated below, but you are not required to do
 so. If you file a written response, you must attach a certificate stating when, how and to whom
 (including addresses) you served the response. Mail/deliver your response so it is received by the
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 Clerk at least two (2) business days before the hearing. The address of the Clerk’s office: Clerk,
 United States Bankruptcy Court, 75 Ted Turner Drive South West, Atlanta, GA 30303. You
 must also mail a copy to the undersigned at the address below. In the event a hearing cannot
 be held within thirty (30) days from the filing of the motion for relief from the automatic stay as
 required by 11 U.S.C. § 362, Movant waives this requirement and agrees to the next earliest
 possible date, as evidenced by signature below. The undersigned consents to the automatic stay
 (and any related co-debtor stay) remaining in effect with respect to Movant until the court orders
 otherwise.


                                              /s/MalloryVelten
                                             Mallory Velten (GA Bar No. 726971)
                                             Attorney for Movant
                                             Brock & Scott, PLLC
                                             4360 Chamblee Dunwoody Rd. Suite 310
                                             Atlanta, GA 30341
                                             Phone: 404-789-2661
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:
                                                               CASE NO: 16-62019-BEM
AMY ELIZABETH BARNES,
     Debtor                                                          CHAPTER 13


U.S. BANK TRUST NATIONAL
ASSOCIATION, AS TRUSTEE OF
BUNGALOW SERIES F TRUST,
      Movant

v.
                                                               CONTESTED MATTER
AMY ELIZABETH BARNES,
     Debtor

MARY IDA TOWNSON,
    Trustee

         Respondents

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF
BUNGALOW SERIES F TRUST (hereinafter “Movant”), a secured creditor in the above-captioned
case, by and through counsel, Brock & Scott, PLLC, and moves this Court to enter an order granting
its request for relief from the automatic stay imposed by 11 U.S.C. § 362(a):


         1.    On July 9, 2016, the Debtor, Amy Elizabeth Barnes, filed a petition with the
Bankruptcy Court for the Northern District of Georgia under Chapter 13 of Title 11 of the United
States Code.


         2.    The Debtor holds title to the real property (hereinafter “Collateral”) described in that
Security Deed recorded in the Cobb County Register of Deeds in Book 14589 at Page 2593 and
recorded on March 14, 2008 (hereinafter “Security Deed”) with an address of 886 Wanda Circle
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Southwest, Marietta, Georgia 30008. A copy of the Security Deed is attached hereto and is
incorporated herein as Exhibit A.


       3.    Movant holds a Promissory Note secured by the Security Deed from the Debtor in the
original principal amount of $65,550.00 and dated January 31, 2008 (hereinafter “Note”). A copy of
the Note is attached hereto and incorporated herein as Exhibit B.


       4.   The Debtor has scheduled the value of the Collateral at $60,000.00.


       5.    Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of April 27,
2018 is $52,729.02.


       6.    As a result of the averments in paragraphs 4 and 5, insignificant equity exists in the
subject property.


       7. The Debtor has defaulted in the mortgage payments to be made outside of the plan. Upon
information and belief, the amount of default, exclusive of fees and costs, is as follows:

                2      payments @      $        457.81       $      915.62
                       (4/17 - 5/17)
                14     payments @
                       (6/17-7/18)     $        509.29       $ 7,130.06
                       Suspense                              $   (0.00)
                       Total Delinquency                     $ 8,045.68

       8.    Cause exists for relief from the automatic stay. Direct post-petition mortgage
payments are not being made to Movant as required by the confirmed plan. As such, Movant’s
interests are not adequately protected.


       WHEREFORE, Movant prays the Court as follows:
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        1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Collateral including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession.


        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay.


        3.      In the event relief from the stay is granted, for a determination that the plan no longer
provides for Movant’s claim pursuant to 11 U.S.C. § 1322(b)(5) such that further compliance with
Rule 3002.1 is no longer necessary.


        4.     As an alternative to the relief prayed for above, grant adequate protection to Movant for
its interest in the Collateral.


          5.    Movant specifically requests permission to communicate with the Debtor and
Debtor’s counsel to the extent necessary to comply with applicable non-bankruptcy law; and


        6.     Grant Movant such other and further relief as the Court deems just and proper.



This 27th day of July 2018.

                                               /s/ Mallory Velten
                                               Mallory Velten (GA Bar No. 726971)
                                               Attorney for Movant
                                               Brock & Scott, PLLC
                                               4360 Chamblee Dunwoody Rd. Suite 310
                                               Atlanta, GA 30341
                                               Phone: 404-789-2661
                                               gabkr@brockandscott.com
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                               CERTIFICATE OF SERVICE

       I, Mallory Velten, Attorney at Law, certify that I am, and at all times hereinafter mentioned
was, more than 18 years of age; that on the 27th day of July 2018, I served on the persons listed below
a copy of the within MOTION FOR RELIEF FROM STAY AND NOTICE OF ASSIGNMENT OF
HEARING by electronic service or by regular mail, with appropriate postage affixed, at:

Amy Elizabeth Barnes
886 Wanda Circle SW
Marietta, GA 30008

Howard P. Slomka
Overlook III- Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Mary Ida Townson
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740


This 27th day of July, 2018.
                                               Brock and Scott, PLLC

                                               /s/ Mallory Velten
                                               Mallory Velten (GA Bar No. 726971)
                                               Brock & Scott, PLLC
                                               4360 Chamblee Dunwoody Rd. Suite 310
                                               Atlanta, GA 30341
                                               Ph: 404-789-2661
                                               Fax: 404-294-0919
                                               gabkr@brockandscott.com
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                                         Exhibit A
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a s A s s i g ne e ,    it s s u cc e s s o r s , re p r e s en t a t i v e s ,           a n d a s s i g n s, a l l of i t s ri g h t s,
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O n A P R I L 2 3, 20 1 2                      , b efo re me , t h e         undersigned,           p ersonally             appeared
TIFFANY BITSOI                                           known       to    me      to    be the        p e r s o n wh o e x e c u t e d
the       within        instrument            as    t he AS S I S TA N T SECRETARY                                               , a nd
R E B E C C A HI G LE Y                                  known       to    me      to    be     the person who executed
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C o r p o r a t i o n t ha t e x e c u t e d t h e w i t h i n i ns t ru m en t       an d    ac k n o w l e d g e d    to me th a t
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